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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

                                                          :
ST. LUKE’S HEALTH NETWORK, INC. d/b/a ST.                 : CIVIL ACTION
LUKE’S UNIVERSITY HEALTH NETWORK, ET                      :
AL.                                                       : No: 18-02157
                 Plaintiffs                               :
                                                          :
                 VS.                                      :
                                                          :
LANCASTER GENERAL HOSPITAL, ET AL.                        : JURY TRIAL DEMANDED
                                                          :
                     Defendants                           :
                                                          :

                   NOTICE OF APPEARANCE WITH JURY DEMAND

TO THE CLERK OF COURT:

        Please enter the appearance of Peter J. Hoffman, Esquire, Jeffrey P. Lewis, Esquire and

Kevin W. Fay, Esquire of Eckert Seamans Cherin & Mellott, LLC, on behalf of all defendants in

this matter.

        Defendants demand a jury of twelve.

                                      ECKERT SEAMANS CHERIN & MELLOTT, LLC


                                     ______________________________________
                                     Peter J. Hoffman, Esquire
                                     Attorney ID No. 20054
                                     Jeffrey P. Lewis, Esquire
                                     Attorney ID No. 27586
                                     Kevin W. Fay, Esquire
                                     Attorney ID No. 308252
                                     50 South 16th Street, 22nd Floor
                                     Philadelphia, PA 19102
                                     215.851.8400
                                     215.851.8383 (fax)
                                     phoffman@eckertseamans.com
                                     jlewis@eckertseamans.com
                                     kfay@eckertseamans.com
                                     Attorneys for Defendants
             Case 5:18-cv-02157-JLS Document 9 Filed 05/31/18 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I, Peter J. Hoffman, hereby certify that I caused to be served a true and correct copy of

the Notice of Appearance with Jury Demand on behalf of defendants via ECF filing upon the

following:


                                 David H. Thompson, Esquire
                                    Cooper & Kirk, PLLC
                              1523 New Hampshire Avenue, N.W.
                                   Washington, DC 20036

                                   Douglas J. McGill, Esquire
                                     Webber McGill, LLC
                                    760 Route 10, Suite 104
                                     Whippany, NJ 07981




                                                     ___________________________
                                                     Peter J. Hoffman, Esquire


Dated: 5/31/18
